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                             UNITED STATES COURT OF APPEALS

                                   FOR THE FOURTH CIRCUIT
                                                                           FILED
                                                                     January 25, 2007

                           Lead Case: 06-4391 US v. Donna C. Johnson




                                         No. 07-4115
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
  Dobie Parker

                  Defendant - Appellant




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                                         O R D E R
                                         ---------

                The Court appoints Peter D. Ward as counsel for the

          appellant.




                                             For the Court - By Direction


                                              /s/ Patricia S. Connor
                                             _________________________
                                                         CLERK



  Nunc Pro Tunc Date:   12/21/06
